        Case 1:21-cr-00451-CJN Document 14 Filed 04/01/21 Page 1 of 7




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA              )
                                      )
v.                                    )      CRIMINAL NO. 21-mj-00109
                                      )
SUZANNE IANNI,                        )
    Defendant                         )


                           JOINT MOTION TO CONTINUE


      Counsel for Suzanne Ianni and the United States of America respectfully move
to continue the Status Conference scheduled for April 1, 2021.
      1. The parties request the Court set a date for a further Status Conference in
         approximately 60 days.
      2. Under Federal Rules of Criminal Procedure 16 and 16.1, the parties
         discussed issues of automatic discovery. Under Local Criminal Rule 16.1,
         the parties discussed issues of voluntary discovery. The government will
         provide all discovery by way of a file-sharing software program.
      3. The parties have agreed upon a Protective Order. The government will file
         it soon.
      4. The government requests, with the assent of the defendant, the Court grant
         an Order that the time between April 1, 2021 and the date of the next status
         conference   be   excluded   from   the   calculations   under     18   U.S.C.
         §§3161(h)(7)(A). (See Order below). The ends of justice served in the delay
         outweigh the best interest of the public and Mrs. Ianni in a speedy trial.
         Exclusion of the time is necessary so that the defendant may receive and
         review the voluminous discovery.
          Case 1:21-cr-00451-CJN Document 14 Filed 04/01/21 Page 2 of 7




                                                              Respectfully submitted,
                                                              SUZANNE IANNI,
                                                              By her attorney,
                                                              Pro Hac Vice

Date: April 1, 2021
                                                              /s/ Henry Fasoldt
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                                                              /s/ Brittany Keil
                                                              Brittany Keil
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                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) on this date,
April 1, 2021.

                                                              /s/ Henry Fasoldt
                                                              Henry Fasoldt
        Case 1:21-cr-00451-CJN Document 14 Filed 04/01/21 Page 3 of 7




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                )
                                        )
v.                                      )      CRIMINAL NO. 21-mj-00109
                                        )
SUZANNE IANNI,                          )
    Defendant                           )


                                       ORDER

      Based upon the representations in the Defendant’s Unopposed Motion to

Continue and to Exclude Time Under the Speedy Trial Act, and upon consideration

of the entire record, the Court makes the following findings:

      Defendant is charged via indictment with offenses related to crimes that

occurred at the United States Capitol on January 6, 2021. In brief, on that date, as

a Joint Session of the United States House of Representatives and the United States

Senate convened to certify the vote of the Electoral College of the 2020 U.S.

Presidential Election, members of a large crowd that had gathered outside forced

entry into the U.S. Capitol, including by breaking windows and by assaulting

members of law enforcement, as others in the crowd encouraged and assisted those

acts. Scores of individuals entered the U.S. Capitol without authority to be there. As

a result, the Joint Session and the entire official proceeding of the Congress was

halted until the Capitol Police, the Metropolitan Police Department, and other law

enforcement agencies from the city and surrounding region were able to clear the

Capitol of hundreds of unlawful occupants and ensure the safety of elected officials.

This event in its entirety is hereinafter referred to as the “Capitol Attack.”
         Case 1:21-cr-00451-CJN Document 14 Filed 04/01/21 Page 4 of 7




      The investigation and prosecution of the Capitol Attack will likely be one of the

largest in American history, both in terms of the number of defendants prosecuted

and the nature and volume of the evidence. Over 300 individuals have been charged

in connection with the Capitol Attack.          The investigation continues and the

government expects that at least one hundred additional individuals will be charged.

While most of the cases have been brought against individual defendants, the

government is also investigating conspiratorial activity that occurred prior to and on

January 6, 2021.     The spectrum of crimes charged and under investigation in

connection with the Capitol Attack includes (but is not limited to) trespass, engaging

in disruptive or violent conduct in the Capitol or on Capitol grounds, destruction of

government property, theft of government property, assaults on federal and local

police officers, firearms offenses, civil disorder, obstruction of an official proceeding,

possession and use of destructive devices, and conspiracy.

      Defendants charged and under investigation come from throughout the United

States, and a combined total of over 900 search warrants have been executed in

almost all fifty states and the District of Columbia.        Multiple law enforcement

agencies were involved in the response to the Capitol Attack, which included officers

and agents from U.S. Capitol Police, the District of Columbia Metropolitan Police

Department, the Federal Bureau of Investigation, the Department of Homeland

Security, the Bureau of Alcohol, Tobacco, Firearms and Explosives, the United States

Secret Service, the United States Park Police, the Virginia State Police, the Arlington

County Police Department, the Prince William County Police Department, the
         Case 1:21-cr-00451-CJN Document 14 Filed 04/01/21 Page 5 of 7




Maryland State Police, the Montgomery County Police Department, the Prince

George’s County Police Department, and the New Jersey State Police. Documents

and evidence accumulated in the Capitol Attack investigation thus far include: (a)

more than 15,000 hours of surveillance and body-worn camera footage from multiple

law enforcement agencies; (b) approximately 1,600 electronic devices; (c) the results

of hundreds of searches of electronic communication providers; (d) over 210,000 tips,

of which a substantial portion include video, photo and social media; and (e) over

80,000 reports and 93,000 attachments related to law enforcement interviews of

suspects and witnesses and other investigative steps.        As the Capitol Attack

investigation is still on-going, the number of defendants charged and the volume of

potentially discoverable materials will only continue to grow. In short, even in cases

involving a single defendant, the volume of discoverable materials is likely to be

significant.

      The government, in consultation with the Federal Public Defender, is

developing a comprehensive plan for handling, tracking, processing, reviewing and

producing discovery across the Capitol Attack cases. Under the plan, the discovery

most directly and immediately related to pending charges in cases involving detained

defendants will be provided within the next thirty to sixty days. Cases that do not

involve detained defendants will follow thereafter. Such productions will also be

supplemented on an on-going basis. In the longer term, the plan will include a system

for storing, organizing, searching, producing and/or making available voluminous

materials such as those described above in a manner that is workable for both the
         Case 1:21-cr-00451-CJN Document 14 Filed 04/01/21 Page 6 of 7




government and hundreds of defendants. This latter portion of the plan will require

more time to develop and implement, including further consultation with the Federal

Public Defender.

      In this case, an ends-of-justice continuance is warranted under 18 U.S.C. §

3161(h)(7)(A) based on the factors described in 18 U.S.C. § 3161(h)(7)(B)(i)(ii) and (iv).

As described above, the Capitol Attack is likely the most complex investigation ever

prosecuted by the Department of Justice.        Developing a system for storing and

searching, producing and/or making available voluminous materials accumulated

across hundreds of investigations, and ensuring that such system will be workable

for both the government and defense, will take time. Even after a system generally

agreeable to the government and the Federal Public Defender is designed and

implemented, likely through the use of outside vendors, it will take time to load,

process, search and review discovery materials. Further adding to production and

review times, certain sensitive materials may require redaction or restrictions on

dissemination, and other materials may need to be filtered for potentially privileged

information before they can be reviewed by the prosecution.

      In sum, due to the number of individuals currently charged across the Capitol

Attack investigation and the nature of those charges, the on-going investigation of

many other individuals, the volume and nature of potentially discovery materials,

and the reasonable time necessary for effective preparation by all parties taking into

account the exercise of due diligence, the failure to grant such a continuance in this

proceeding would be likely to make a continuation of this proceeding impossible, or
         Case 1:21-cr-00451-CJN Document 14 Filed 04/01/21 Page 7 of 7




result in a miscarriage of justice. Accordingly, the ends of justice served by granting

a request for a continuance outweigh the best interest of the public and the defendant

in a speedy trial.

      Therefore, it is this      day of ________________, 2021,

      ORDERED that the Defendant’s Unopposed Motion to Continue and to

Exclude Time Under the Speedy Trial Act, is hereby GRANTED; it is further

      ORDERED that this proceeding is continued to                       , 2021, at

      ; and it is further

      ORDERED that the time period from the date of this Order through and

including the date of the next hearing is hereby excluded from the computation of

time within which a trial must commence under the Speedy Trial Act, 18 U.S.C. §

3161 et seq.

                                 ____________________________________________
                                 THE HONORABLE G. MICHAEL HARVEY
                                 UNITED STATES MAGISTRATE JUDGE
